                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


UNITED STATES OF AMERICA                    )
                                            )           DOCKET NO. 3:12cr239
           v.                               )
                                            )
(6) TOBY HUNTER                             )           SCHEDULING ORDER
(7) STEVEN JONES                            )
(13) CARRIE TYSON                           )
(14) JAMES TYSON, JR.                       )
(20) FRANK DESIMONE                         )
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       THIS MATTER IS BEFORE THE COURT on its own motion.

       THE COURT ORDERS THAT:

        Motions to compel discovery, motions to suppress, motions under Rules 7, 8, 12, 13, 14,
16, 18 and 41 of the Federal Rules of Criminal Procedure, and motions in limine shall be filed no
later than December 13, 2013; responses to those motions shall be filed no later than December
20, 2013, and reply briefs shall be filed no later than December 31, 2013.

       Proposed jury instructions shall be filed no later than December 31, 2013.



                                                Signed: November 14, 2013




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